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2
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5

6     Attorneys for Defendant.
7                          UNITED STATES DISTRICT COURT
8                        SOUTHERN DISTRICT OF CALIFORNIA
      GREGORIO MONTALVO-SMITH, an ) Case No.: '19CV0223 BEN MDD
9
                                          )
10    individual,                         ) [Removed from San Diego Superior
                          Plaintiff,      ) Court, Case No. 37-2018-00064154-
11
            vs.                           ) CU-WT-CTL]
                                          )
12                                        )
      SHARECARE HEALTH DATA               )
13                                        ) NOTICE OF REMOVAL OF ACTION
      SERVICES, LLC, a Delaware           ) UNDER 28 U.S.C. §§ 1332(a) and
14
      Corporation; and DOES 1 through 50, ) 1441(a); DECLARATION IN
                                          )
15    Inclusive,                          ) SUPPORT
                          Defendants.     )
16
            TO THE CLERK OF THE ABOVE-ENTITLED COURT:
17

18
            PLEASE TAKE NOTICE THAT defendant Sharecare Health Data Services,

19
      LLC (“Defendant”) hereby removes to this Court the State Court Action described
20    below.
21          1.    Removal of this civil action is proper pursuant to 28 U.S.C. § 1441
22    under on the grounds of complete diversity under 28 U.S.C. § 1332(a).
23          2.    On or about December 19, 2018, this action was commenced in the
24    Superior Court of the State of California, County of San Diego, entitled, Gregorio
25    Montalvo-Smith vs. Sharecare Health Data Services, LLC and Does 1 through 50,
26    Case No. 37-2018-00064154-CU-WT-CTL (the “State Court Action”). A true and
27    correct copy of the Plaintiff’s Summons, Civil Case Cover Sheet, and Complaint
28    (“Complaint”) is attached hereto as Exhibit A.



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1             3.   The State Court Action is located within the Southern District of
2     California. Therefore, venue for purposes of removal is proper in this Court because
3     the United States District Court for the Southern District of California embraces the
4     place in which the removed action was pending. 28 U.S.C. § 1441(a).
5             4.   This action may be removed to this Court pursuant to 28 U.S.C. §
6     1332(a). Complete diversity exists in that: (i) Plaintiff and Defendant are citizens
7     of different states, and (ii) the amount in controversy exceeds the sum of $75,000,
8     exclusive of interest and costs.
9             5.   Plaintiff Gregorio Montalvo-Smith (“Plaintiff”) is a citizen of
10    California. Defendant Sharecare is an LLC whose sole member, Sharecare Health
11    Data Services, Inc., is Delaware corporation with its principal place of business in
12    Atlanta, Georgia. For purposes of diversity jurisdiction, “an LLC is a citizen of
13    every state of which its owners/members are citizens.” Johnson v. Columbia
14    Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). A corporation is a
15    citizen of every state by which it has been incorporated and the state where it has
16    its principal place of business. 28 U.S.C. § 1332(c)(1). Therefore, Sharecare Data
17    Services, Inc. is a corporation that is a citizen of Delaware and Georgia. Because
18    this corporation is the sole member of the defendant LLC, Defendant Sharecare is
19    also a citizen of Delaware and Georgia.
20            6.    This Court should not consider the citizenship of the Defendants
21    “Does 1 through 50.” 28 U.S.C. § 1441(b)(1) (“In determining whether a civil action
22    is removable on the basis of the jurisdiction under section 1332(a) of this title, the
23    citizenship of defendants sued under fictitious names shall be disregarded.”).
24            7.   Accordingly, because Plaintiff is a citizen of California, Sharecare is a
25    citizen of Delaware and Georgia, and the citizenship of the unnamed Doe
26    defendants should be disregarded, there is complete diversity of citizenship in this
27    case.
28            8.   The mechanics and requirements for removal are governed by 28
      U.S.C. § 1446. Section 1446(b) “identifies two thirty-day periods for removing a

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1     case.” Carvalho v. Equifax Info. Servs., LLC, 629 F.3d 876, 885 (9th Cir. 2010).
2     “The first thirty-day removal period is triggered if the case stated by the initial
3     pleading is removable on its face.” Id. (internal quotation marks omitted). “The
4     second thirty-day removal period is triggered if the initial pleading does not indicate
5     that the case is removable, and the defendant receives ‘a copy of an amended
6     pleading, motion, order or other paper’ from which removability may first be
7     ascertained.” Id. (quoting § 1446(b)).” Kuxhausen v. BMW Financial Services NA
8     LLC, 707 F.3d 1136, 1139 (9th Cir. 2013).
9           9.     Sharecare was served with the Summons and Complaint on January 3,
10    2019. A true and correct copy of the Service of Process Transmittal is attached
11    hereto as Exhibit B.
12          10.    The Complaint on its face shows the amount in controversy to be
13    above $75,000. The Civil Case Cover Sheet sheet filed with the State Court Action
14    (see Exhibit A) required Plaintiff to check that the case is “limited” or “unlimited.”
15    Plaintiff checked the box to indicate the case is “Unlimited (Amount demanded
16    exceeds $25,000).” The Civil Case Cover Sheet also states that Plaintiff seeks
17    punitive damages. The Complaint for alleged wrongful termination alleges that
18    Plaintiff earned “$70,000 annually, and an additional bonus of $2,500 paid
19    quarterly.” Complaint, ¶ 7. In his Complaint, Plaintiff seeks damages for “loss of
20    earnings” as well as punitive damages, indicating the amount in controversy is well
21    above $75,000.
22          11.    Moreover, in its jurisdictional statement in the Complaint, Plaintiff
23    stated, “Federal jurisdiction does not exist in this case because there is no federal
24    question implicated and because there is no diversity of citizenship.” Complaint, ¶
25    4. By omission, Plaintiff concedes that the minimum amount in controversy is met.
26          12.    Finally, Plaintiff’s initial settlement demand, communicated on
27    January 29, 2019, and confirmed in writing, exceeded $75,000 by hundreds of
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1     thousands of dollars.1 See Seals v. Asset Acceptance, LLC, No. 13-CV-1969-W
2     NLS, 2014 WL 808877, at *2 (S.D. Cal. Feb. 28, 2014); citing Cohn v. Petsmart,
3     Inc., 281 F.3d 837, 840 (9th Cir. 2002) (a settlement demand “is relevant evidence
4     of the amount in controversy if it appears to reflect a reasonable estimate of the
5     plaintiff’s claim”).
6            13.     This notice of removal is timely pursuant to 28 U.S.C. § 1446(b)
7     because it is filed within 30 days of both Sharecare being served with the Summons
8     and Complaint on January 3, 2019 and confirmation that the amount in controversy
9     element was met on January 29, 2019.
10           14.     Written notice of the filing of this Notice of Removal, with a true and
11    correct copy of this Notice of Removal attached thereto, has been served on
12    Plaintiffs and filed with the Clerk of the Superior Court in and for the County of
13    San Diego.
14
      Dated: 1/31/19                          SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
15                                            /s/Damian P. Richard
16                                            Damian P. Richard
                                              Attorney for Defendant Sharecare
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         Pursuant to FRE 408, the precise dollar amount of the January 29, 2019 demand, which was confirmed
      in writing, is not being disclosed but can be provided to the Court upon request.

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1                       DECLARATION OF DAMIAN P. RICHARD
2           I, Damian P. Richard, hereby declare as follows:
3           1.     I am an attorney duly licensed to practice law in all courts of the State of
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      California. I am an attorney at the law firm of Sessions, Fishman, Nathan, and Israel,
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      LLP, and one of the attorneys for Sharecare Health Data Services, LLC (“Sharecare”).
6
      I have personal knowledge of the matters set forth in this Declaration. If called as a
7
      witness, I could testify competently to such matters. This Declaration is in support of
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      Defendant’s Notice of Removal to which it is attached.
9
            2.     Plaintiff represented to Sharecare that he is a citizen of California.
10
            3.     Sharecare is an LLC whose sole member is a corporation that is a citizen
11
      of Delaware and Georgia.
12
            4.     On or about December 19, 2018, this action was commenced in the
13

14
      Superior Court of the State of California, County of San Diego, entitled, Gregorio

15
      Montalvo-Smith vs. Sharecare Health Data Services, LLC and Does 1 through 50,

16    Case No. 37-2018-00064154-CU-WT-CTL (the “State Court Action”). A true and
17    correct copy of the Plaintiff’s Summons, Civil Case Cover Sheet, and Complaint
18    (“Complaint”) is attached hereto as Exhibit A.
19          5.     Sharecare was served with the Summons and Complaint on January 3,
20    2019. A true and correct copy of the Service of Process Transmittal is attached
21    hereto as Exhibit B.
22          6.     On January 29, 2019, Plaintiff, through his attorneys, communicated a
23
      settlement offer to Sharecare, which was confirmed in writing. This settlement
24
      demand exceeded $75,000 by hundreds of thousands of dollars.
25
            7.     Written notice of the filing of this Notice of Removal, with a true and
26
      correct copy of this Notice of Removal attached thereto, has been served on Plaintiffs
27
      and filed with the Clerk of the Superior Court in and for the County of San Diego.
28




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1            I declare under penalty of perjury under the laws of the United States of America
2     that the foregoing is true and correct.
3            Executed this 31st day of January 2019, at San Diego, California.
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                                                                       /s/Damian P. Richard
5                                                                      Damian P. Richard
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